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                        Counsel for Defendant Meta Platforms, Inc.
                   17

                   18                              UNITED STATES DISTRICT COURT

                   19                           NORTHERN DISTRICT OF CALIFORNIA

                   20   RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC
                   21      Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC S
                                                                        FURTHER SUPPLEMENTAL AND AMENDED
                   22          v.                                       RESPONSES AND OBJECTIONS TO
                                                                        PLAINTIFFS FIRST SET OF
                   23   META PLATFORMS, INC., a Delaware                INTERROGATORIES
                        corporation;
                   24
                                                        Defendant.
                   25                                                   Trial Date: None
                                                                        Date Action Filed: July 7, 2023
                   26

                   27

                   28
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                    1   PROPOUNDING PARTY:           PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                     GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                    3                                RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                                                     TERKEURST, AND CHRISTOPHER FARNSWORTH
                    4
                        RESPONDING PARTY:            DEFENDANT META PLATFORMS, INC.
                    5
                        SET NUMBER: ONE              ONE
                    6

                    7          Pursuant to Federal Rule of Civil Procedure 33 and Local Rule 33, Defendant Meta
                    8   Platforms, Inc.    Meta     responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,
                    9   Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,
                   10   Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and
                   11   Christopher Farnsworth                                                                   .
                   12   I.     RESPONSES TO ALL INTERROGATORIES
                   13          1.      Meta              s to these Interrogatories are made to the best of Meta       current
                   14               present knowledge, information, and belief. Said responses are at all times subject to
                   15   such additional or different information that discovery or further investigation may disclose and,
                   16   while based on the present state of Meta
                   17   and such additional knowledge of facts, as may result from Meta
                   18   investigation. Meta reserves the right to make any use of, or to introduce at any hearing and at trial,
                   19   information and/or documents responsive to these Interrogatories but discovered subsequent to the
                   20   date of these responses, including, but not limited to, any such information or documents obtained
                   21   in discovery herein.
                   22          2.      To the extent that Meta responds to an Interrogatory by stating that Meta will
                   23   provide information or documents that Meta deems to embody material that is private, business
                   24   confidential, proprietary, trade secret, or otherwise protected from disclosure pursuant to Federal
                   25   Rule of Civil Procedure 26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject
                   26

                   27

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                    1   -

                    2                                                .

                    3              3.       Meta reserves all objections or other questions as to the competency, relevance,

                    4   materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this

                    5   or any other action for any purpose whatsoever of Meta

                    6   thing identified or provided in response to the Interrogatories.

                    7   II.        OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS1
                    8              Whether or not separately set forth in response to each Interrogatory, Meta makes these

                    9   objections to the following Instructions and Definitions:

                   10              1.                                                                overbroad and unduly burdensome

                   11   to the extent that it encompasses oral contracts, arrangements, or understandings, including those

                   12

                   13   unintelligible as to the t

                   14

                   15   including drafts, versions, amendments, exhibits, and appendices thereof.

                   16              2.

                   17   with and otherwise seeks to circumvent the custodian and search term limits for electronic

                   18   communications (including emails and other electronic correspondence, and documents attached

                   19

                   20                   Meta will produce Documents, including Communications, pursuant to the terms of the

                   21   ESI Order, and any agreement to produce such Documents is explicitly in view of the terms of the

                   22   ESI Order. To the extent that Meta responds to a Request, including by agreeing to search for

                   23   relevant, non-

                   24   is not a representation that any particular custodian or search term is appropriate. Meta expressly

                   25   reserves the right to object to any custodians and search terms proposed by Plaintiffs.

                   26

                   27
                        1
                            In connection with these First Supplemental Responses and Objections t                 of Interrogatories,
                   28
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                    1           3.

                    2                                                                                          Meta further

                    3   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                    4   the case to the extent that it purports to require Meta to produce documents or information

                    5

                    6   on corpuses of text that include any of Plaintif                               For the same reason,

                    7   Meta objects to these definitions to the extent that they purport to require Meta to produce

                    8

                    9   defenses. For purpo

                   10

                   11                                                                                       LM released by

                   12   Meta under that name on April 18, 2024, July 23, 2024, and September 25, 2024.

                   13           4.                                                      overbroad, unduly burdensome, and

                   14   disproportionate to the needs of the case to the extent that it purports to require Meta to produce

                   15   documents or information

                   16   shareholders with an ownership of in Meta of greater than 5%.

                   17   to mean Meta Platforms, Inc.

                   18           5.

                   19                                                                           Meta further objects to this

                   20   definition as overbroad, unduly burdensome, and disproportionate to the needs of the case to the

                   21   extent that it purports to require Meta to produce documents concerning LLMs that were not

                   22

                   23   allegedly copyrighted works. For the same reason, Meta objects to this definition to the extent that

                   24

                   25   defenses.

                   26   family of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama,

                   27   and Llama 3 (as those terms are construed above).

                   28
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                    1            6.

                    2

                    3   construe the Relevant Period to mean January 1, 2022 to the present.

                    4            7.                                                                   ague, ambiguous, and

                    5

                    6

                    7                                             compass any dataset considered by any Meta employee,

                    8   regardless of the seriousness of such consideration and whether or not that consideration was ever

                    9   acted upon. Meta further objects to this definition to the extent it purports to include datasets (or

                   10

                   11   and which are not the subject of any allegations of copyright infringement by Plaintiffs. Meta will

                   12   constr

                   13   Models (as construed above).

                   14            8.

                   15

                   16                                                                                                     this

                   17   response is to the Interrogatories, not any document requests. Meta further objects to this definition

                   18   to the extent it seeks to impose upon Meta an obligation to investigate information or documents

                   19   outside of its possession, custody, or control. For purposes of these responses, Meta construes the

                   20                                                         (as construed above).

                   21            9.    Meta objects to Instruction 1 to the extent that it purports to require more of Meta

                   22   than any obligation imposed by law, and would subject Meta to unreasonable and undue burden

                   23   and expense. Meta will supplement or amend its responses to these Interrogatories in accordance

                   24                                           (e).

                   25            10.   Meta objects to I

                   26   2000 to the present. Such definition is overbroad, unduly burdensome, and disproportionate to the

                   27   needs of the case because it both precedes the existence of Facebook (and therefore Meta) by

                   28   several years, and the development of the Meta Language Models by decades. For the same reason,
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                    1

                    2    that is irrelevant to the parties claims and defenses. The Instruction is also inconsistent with the

                    3

                    4    and ambiguous. Meta will construe the Relevant Period to mean January 1, 2022 to the present.

                    5           11.     Meta objects to Instruction 4 (referring to Fed. R. Civ. P. Rule 33(d)) on the ground

                    6    that it purports to require more of Meta than any obligation imposed by law, and would subject

                    7    Meta to unreasonable and undue burden and expense.

                    8           12.     Meta objects to Instruction 6 (outlining additional obligations for allegedly

                    9    incomplete responses) to the extent that it purports to require Meta to investigate information

                   10    outside of its possession, custody, or control.

                   11           13.     Meta objects to Instruction 8 (outlining additional obligations for any privilege

                   12    objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   13    law, and would subject Meta to unreasonable and undue burden and expense.

                   14           14.     Meta objects to Instruction 9 (outlining additional obligations for any work product

                   15    objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   16    law, and would itself require disclosure of information protected by attorney-client privilege and/or

                   17    attorney work product doctrine.

                   18           15.     Meta objects to Instruction 10 (building in a separate question for each

                   19    Interrogatory) on the ground that it purports to require more of Meta than any obligation imposed

                   20    by law, seeks disclosure of information protected by attorney-client privilege and/or attorney work

                   21

                   22           16.     Meta objects to Instruction 11

                   23                                                                       on the ground that it purports to

                   24    require more of Meta than any obligation imposed by law, and would subject Meta to unreasonable

                   25    and undue burden and expense. Meta further objects to Instruction 11 to the extent that it purports

                   26    to require Meta to investigate information outside of its possession, custody, or control. As such

                   27    the Instruction if overly broad, as well. Subject to any objections applicable to a particular

                   28
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                    1    Interrogatory, Meta will conduct a reasonable, proportionate search for non-privileged, relevant,

                    2    responsive information within its possession, custody, or control.

                    3           17.     In responding to all Interrogatories, Meta will comply with the requirements of the

                    4    Federal Rules of Evidence and Federal Rule of Civil Procedure 26.

                    5    III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL INTERROGATORIES

                    6    INTERROGATORY NO. 1:

                    7           Describe in detail the data You have used to train or otherwise develop the Meta Language

                    8    Models, Including, for each:

                    9    a.     How You obtained the data, e.g., by scraping the data, purchasing it from third parties, or

                   10    by other means;

                   11    b.     All sources of Data, including any third parties that provided data sets;

                   12    c.     To the extent the data was derived from publicly available websites, a list of all such

                   13    websites and, for each, the percentage of the data corpus that is derived from that website;

                   14    d.     The categories of content included in the data and the extent to which each category is

                   15    represented in the data corpus (i.e., as a percentage of data used to train the model);

                   16    e.     All policies and procedures Related to identifying, assessing, vetting and selecting sources

                   17    of data for the model.

                   18    RESPONSE TO INTERROGATORY NO. 1:

                   19           Meta incorporates by reference its objections and definitions above, including to the terms

                   20

                   21

                   22           As an initial matter, Meta objects to this Interrogatory because it consists of multiple,

                   23

                   24    example, the question about what data used to train a model is separate from how it was obtained,

                   25    and further, subparts (d) and (e) are not subsumed within and necessarily related to the primary

                   26    question, and purport to require a calculation of percentages of data, and separate identification of

                   27

                   28    This Interrogatory consists of at least three Interrogatories, and depending on how it is interpreted,
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                    1    many more. In answering the Interrogatory, Meta does not waive this objection.

                    2             Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                    3    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                    4    particular as to subpart (e). Meta will not produce privileged materials or attorney work product.

                    5

                    6

                    7

                    8

                    9    is accordingly unable to interpret and respond to subpart (c).

                   10    the subject matter of subpart (c) would be overbroad, unduly burdensome, and disproportionate to

                   11

                   12    Meta will not respond to subpart (c).

                   13

                   14    and unintelligible.

                   15             Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   16

                   17             Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   18    Protective Order and the ESI Order, Meta responds as follows: Meta incorporates by reference the

                   19    identification of datasets used to train Llama 1 that is included in the publicly available paper

                   20

                   21    Llama 1. Meta will produce a copy of that paper in its forthcoming production pursuant to Rule

                   22    33(d).

                   23             Meta will conduct a reasonable search for additional non-privileged information or, in

                   24

                   25    show any other datasets used to train the Meta Language Models (as construed above), as well as

                   26    policies and procedures for identifying, assessing, vetting, and selecting sources of data for those

                   27    models.

                   28             Discovery is ongoing and Meta will also supplement its response to this Interrogatory to
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                   18    INTERROGATORY NO. 3:

                   19           Describe in detail the RLHF process for each Meta Language Model. Include in Your

                   20    response:

                   21           a.     Examples of types of experts who write questions and answers for use in RLHF;

                   22           b.     Examples of questions and answers;

                   23           c.     An explanation of the rating system or method of evaluation for the Meta Language

                   24

                   25           d.     A description of the RLHF You actually undertook in order to correct or remediate

                   26

                   27    RESPONSE TO INTERROGATORY NO. 3:

                   28           Meta incorporates by reference its objections and definitions above, including to the terms
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                    1

                    2            As an initial matter, Meta objects to this Interrogatory because it consists of multiple,

                    3

                    4    example, the question about the RLHF process is separate from subpart (b), which asks for

                    5

                    6                                                                                    any

                    7

                    8    Interrogatory consists of at least three Interrogatories. In answering the Interrogatory, Meta does

                    9    not waive this objection.

                   10

                   11

                   12    individuals who have written questions and answers for use in connection with RLHF for Meta

                   13    Language Models (as construed above).

                   14            Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   15

                   16    in particular as to subparts (a)-(c).

                   17            Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   18

                   19            Meta objects to the counterfactual presumption and characterization of its language models

                   20

                   21                                                                           vague.

                   22            Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   23    Protective Order and the ESI Order, Meta responds as follows:

                   24            This response is designated as Confidential under the Protective Order.

                   25

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                   13           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   14    Protective Order, Meta identifies the following documents as containing examples of questions and

                   15    answers     used    during     the    RLHF      process:     Meta_Kadrey_00014794-00015376,

                   16    Meta_Kadrey_00016896-00017243,                               Meta_Kadrey_00017244-00018017,

                   17    Meta_Kadrey_00019182-00019625, and Meta_Kadrey_00022649-00022996.

                   18                                                                               -

                   19    as Meta_Kadrey_00000001-00000077. Pursuant to Rule 33(d), Meta also refers Plaintiffs to the

                   20                                                                                          for further

                   21    information.

                   22

                   23           This response is designated as Confidential under the Protective Order.

                   24

                   25

                   26

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                    1

                    2    INTERROGATORY NO. 4:

                    3            Describe in detail the policies and procedures that You follow in order to assess risk, safety,

                    4    and alignment before You release a new Meta Language Model to the public, whether paid or free.

                    5    Include in Your response:

                    6            a.      A description of the risks taken into consideration, including the risks that a Meta

                    7    Language Model will emit protected expression from its Training Data;

                    8            b.      A description of the individual(s), type(s) of individual by title and area of expertise,

                    9    or department(s) responsible for determining whether the Meta Language Model is ready to be

                   10    released;

                   11            c.      A list of all instances where a Meta Language Model was released to the public after

                   12    passing this review;

                   13            d.      A list of all instances where a Meta Language Model was not released to the public

                   14    after failing this review;

                   15            e.      A list of all instances where a Meta Language Model was released to the public

                   16    despite failing this review, and which individual(s) were responsible for overriding the result of

                   17    this review.

                   18    RESPONSE TO INTERROGATORY NO. 4:

                   19            Meta incorporates by reference its objections and definitions above, including to the terms

                   20

                   21            As an initial matter, Meta objects to this Interrogatory because it consists of multiple,

                   22

                   23    Interrogatory consists of at least

                   24    example, subparts (c), (d), and (e) are not subsumed within and necessarily related to the primary

                   25    question. In answering the Interrogatory, Meta does not waive this objection.

                   26            Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                   27    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                   28    particular as the subject matter of the Interrogatory encompasses policies and procedures that are
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                    1    legal in nature. Meta will not respond to subparts (a), (d), and (e).

                    2

                    3    ambiguous. Meta also objects to the phrase

                    4

                    5    by Meta.

                    6           Meta objects to the counterfactual presumption and characterization of its language models

                    7

                    8                                                                             vague.

                    9           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   10

                   11    in particular to the extent it seeks information concerning policies and procedures that have no

                   12    bearing on issues related to U.S. copyright law.

                   13           Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   14

                   15           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   16    Protective Order, Meta responds as follows:

                   17           This response is designated as Confidential under the Protective Order.

                   18

                   19

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                   28
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                    1            Discovery is continuing and Meta reserves the right to supplement or amend its response at

                    2    a later time.

                    3

                    4            Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    5    Protective Order, Meta identifies the following additional individuals:

                    6            This response is designated as Confidential under the Protective Order.

                    7

                    8

                    9

                   10

                   11

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                   18            Meta considered a number of risks in conjunction with development and release of the Meta

                   19    Language Models (as construed above), including risks associated with data privacy, product

                   20    safety, intellectual property, social risks (e.g., toxicity and bias), and risks that the models could be

                   21    abused by bad actors, among other risks. Meta made significant investments to mitigate these risks

                   22    prior to release of the Meta Language Models (as construed above), in particular Llama 2 onward,

                   23    and all such models were determined by cross-functional stakeholders to be suitable for release.

                   24    See e.g., M. Clark 11/13/2024 30(b)(6) Dep. 11:15-22, 16:6-18:15, 101:3-103:22.

                   25    INTERROGATORY NO. 5:

                   26            Identify all Agreements between and among:

                   27            a.      You and anyone associated, affiliated, or having any connection with data used to

                   28    train the Meta Language Models;
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                    1           b.       You and directors and officers of Defendants or Related Entities with a more than

                    2    five percent interest held by directors and officers of Defendants.

                    3    RESPONSE TO INTERROGATORY NO. 5:

                    4           Meta incorporates by reference its objections and definitions above, including to the terms

                    5                                         .

                    6           As an initial matter, Meta objects to this Interrogatory because it consists of two

                    7

                    8    waive this objection.

                    9           Meta objects to this Interrogatory as vague, ambiguous, and unintelligible as to the phrase

                   10

                   11           Meta objects to this Interrogatory as vague, ambiguous, and unintelligible as to

                   12                s

                   13    to mean Meta (as construed above).

                   14           Meta objects to this Interrogatory as vague, ambiguous, and unintelligible as to the term

                   15

                   16                                                                           ned by or sharing common

                   17    ownership with Meta.

                   18           Meta objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

                   19

                   20    claims and defenses, in particular to the extent it seeks inf

                   21

                   22    construe subpart (a) to refer to formal, written agreements concerning licensing or acquisition of

                   23    training data for any Meta Language Model (as construed above). Meta will not respond to subpart

                   24    (b).

                   25           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   26    Protective Order and the ESI Order, Meta responds as follows:

                   27           Meta incorporates by reference its most recent SEC FORM DEF 14A, which identifies

                   28
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ATTORNEYS AT LAW                                                                       META S FURTHER SUPP. & AMENDED RESP
                                                                          19             & OBJ S TO PLTFS FIRST SET OF ROGS
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                    1    stock. Meta will produce a copy of that document in its forthcoming production pursuant to Rule

                    2    33(d).

                    3             Pursuant to Rule 33(d), Meta will also conduct a reasonable search for and produce on a

                    4    rolling basis documents sufficient to show any executed written agreements concerning licensing

                    5    or acquisition of training datasets for any Meta Language Models (as construed above).

                    6

                    7             Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    8    Protective Order, Meta responses as follows:

                    9             This response is designated as Confidential under the Protective Order.

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                   14             This response is designated as Highly Confidential

                   15    Protective Order.

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                   22    INTERROGATORY NO. 6:

                   23             In order of corporate seniority, Identify by name and date all Your past and present directors,

                   24    officers, and board members.

                   25    RESPONSE TO INTERROGATORY NO. 6:

                   26             Meta incorporates by reference its objections and definitions above, including to the term

                   27

                   28             Meta objects to the portion of this Interrogatory requiring Meta to list individuals by order
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ATTORNEYS AT LAW                                                                         META S FURTHER SUPP. & AMENDED RESP
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                    2    seniority.

                    3            Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                    4

                    5    in particular to the extent it seeks information concerning all past and present directors, officers,

                    6

                    7

                    8    models that were only recently released.

                    9            Meta will not respond to this Interrogatory. Meta instead refers Plaintiff to the Investor

                   10    Relations        (https://investor.fb.com/home/default.aspx)           and       Company         Info

                   11    (https://about.meta.com/company-info/) pages on its website, which contain information about

                   12    present Meta leadership.

                   13    INTERROGATORY NO. 7:

                   14            In order of corporate seniority, Identify by name, job title, and date, all Persons, Including

                   15    employees from other businesses, contractors, vendors, and other non-employees of Your business,

                   16    previously and currently responsible for, or having oversight or control over the training,

                   17    engineering, development, ethics, safety, or alignment of the Meta Language Models, and any

                   18    iterations, versions, or variations thereof. Include in Your response:

                   19            a.     For each Person, a description of his or her area of expertise;

                   20            b.     For each Person, a description of whether such Person was previously or is currently

                   21    responsible for, or has or had oversight or control over ethics, safety, or alignment related to the

                   22    Meta Language Models;

                   23            c.     For each Person, a description of whether such Person was previously or is currently

                   24    responsible for, or has or had oversight or control over researching, analyzing, reporting on,

                   25    mitigating, or remediating the propensity of the Meta Language Models to emit protected

                   26    expression from the Training Data;

                   27            d.     For each Person responsive to subpart b above, provide a description of whether

                   28    such Person created Documents or Communications Concerning the ethics or legality of any
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                                                                          21              & OBJ S TO PLTFS FIRST SET OF ROGS
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                    1    Training Data gathered or used by You;

                    2           e.      Provide a description of the mitigations and remediations so undertaken by any

                    3    Persons responsive to subpart c. above;

                    4           f.      For Persons previously employed, Identify whether they left You voluntarily or

                    5    involuntarily, and whether any disagreement with You about Training Data was a factor in their

                    6    separation from You.

                    7    RESPONSE TO INTERROGATORY NO. 7:

                    8           Meta incorporates by reference its objections and definitions above, including to the terms

                    9

                   10           As an initial matter, Meta objects to this Interrogatory because it consists of at least four

                   11

                   12    subsumed within and necessarily related to the primary question. In answering the Interrogatory,

                   13    Meta does not waive this objection.

                   14           Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                   15    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                   16    particular as the subject matter of the Interrogatory encompasses policies and procedures that are

                   17    legal in nature. Meta will not respond to subpart (d). Meta also will not respond to subpart (e) to

                   18    the extent it seeks information subject to attorney-client privilege and/or attorney work product

                   19    doctrine.

                   20

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                   22                                                                     broad and unduly burdensome).

                   23

                   24    the subject of this Interrogatory.

                   25           Meta further objects to the portion of this Interrogatory requiring Meta to list individuals by

                   26

                   27    have no seniority), while others may be of equivalent or otherwise indistinguishable seniority. Meta

                   28    will identify individuals in alphabetical order of their last names.
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ATTORNEYS AT LAW                                                                        META S FURTHER SUPP. & AMENDED RESP
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                    3    regardless of the significance of their role. Meta will construe this Interrogatory to seek information

                    4    concerning individuals in a managerial role or who may be regarded as lead developers with

                    5    primary responsibility for the training, engineering, development, or alignment of the Meta

                    6    Language Models (as construed above).

                    7           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                    8

                    9    in particular to the extent it seeks information concerning is

                   10    copyright infringement claim.

                   11           Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   12

                   13    company.

                   14           Meta objects to the counterfactual presumption and characterization of its language models

                   15

                   16                    Further Supplemental and Amended Response to Interrogatory No. 7:

                   17           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   18    Protective Order and the ESI Order, Meta responds as follows:

                   19

                   20    Foundation and Fine-

                   21    leadership roles in connection with development of Llama 2:

                   22           Science and Engineering Leadership:

                   23               o Guillem Cucurull (Research Engineer, former Meta employee)              Mr. Cucurull left

                   24                   Meta voluntarily. Meta is unaware of any information to suggest that his departure

                   25                   from Meta concerned a disagreement with Meta over training data.

                   26               o Naman Goyal (Software Engineer)

                   27               o Louis Martin (Research Scientist, former Meta employee)            Mr. Martin left Meta

                   28                   voluntarily. Meta is unaware of any information to suggest that his departure from
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                    1                   Meta concerned a disagreement with Meta over training data.

                    2               o Thomas Scialom (Research Scientist)

                    3               o Ruan Silva (Software Engineer)

                    4               o Kevin Stone (Research Engineer, former Meta employee)            Mr. Stone left Meta

                    5                   voluntarily. Meta is unaware of any information to suggest that his departure from

                    6                   Meta concerned a disagreement with Meta over training data.

                    7               o Hugo Touvron (Research Scientist)

                    8           Technical and Management Leadership:

                    9               o Sergey Edunov (Director, AI Research)

                   10               o Angela Fan (Research Scientist)

                   11               o Melanie Kambadur (Research Engineering Manager)

                   12               o Sharan Narang (Research Scientist Manager)

                   13               o Aurelien Rodriguez (Software Engineering Manager, former Meta employee)           Mr.

                   14                   Rodriguez left Meta voluntarily. Meta is unaware of any information to suggest that

                   15                   his departure from Meta concerned a disagreement with Meta over training data.

                   16               o Robert Stojnic (Engineering Manager, former Meta employee)            Mr. Stojnic left

                   17                   Meta voluntarily. Meta is unaware of any information to suggest that his departure

                   18                   from Meta concerned a disagreement with Meta over training data.

                   19           Meta has produced a copy of the Llama 2: Open Foundation and Fine-Tuned Chat Models

                   20    paper as Meta_Kadrey_00000001-00000077. Excluding Mr. Silva and Mr. Martin, each of the

                   21    foregoing listed individuals also contributed to development of Llama 3. Pursuant to Rule 33(d),

                   22

                   23    July 23, 2024, for further information.

                   24           Meta also identifies the following individuals as having leadership roles in connection with

                   25    development of Llama 2 and Llama 3:

                   26                   Mike Clark (Director, Product Management)

                   27                   Ahmad Al-Dahle (VP Gen AI)

                   28                   Chaya Nayak (Director, Product Management)
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                    1          In addition, Meta identifies the following individuals as having leadership roles in

                    2    connection with development of Llama 1:

                    3                 Joelle Pineau (VP, AI Research)

                    4                 Edouard Grave (Research Scientist, former Meta employee)         Mr. Grave was a

                    5                 research scientist at Meta. Mr. Grave was one of the lead developers of Llama 1.

                    6                 Mr. Grave left Meta voluntarily. Meta is unaware of any information to suggest that

                    7                 his departure from Meta concerned a disagreement with Meta over training data.

                    8                 Guillaume Lample (Research Scientist, former Meta employee)        Mr. Lample was

                    9                 a research scientist at Meta. Mr. Lample was one of the lead developers of Llama

                   10                 1. Mr. Lample left Meta voluntarily. Meta is unaware of any information to suggest

                   11                 that his departure from Meta concerned a disagreement with Meta over training data.

                   12                 Aurelien Rodriguez (Software Engineering Manager, former Meta employee)

                   13                 Hugo Touvron (Research Scientist)

                   14          This response is designated as Highly Confidential

                   15    Protective Order.

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COOLEY LLP
ATTORNEYS AT LAW                                                                     META S FURTHER SUPP. & AMENDED RESP
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                   17    INTERROGATORY NO. 8:

                   18           Identify all software, databases, or services previously and currently used by You for

                   19    training, maintaining, supervising, managing, analyzing, programming, updating, troubleshooting,

                   20    diagnosing, testing or modifying the Meta Language Models.

                   21    RESPONSE TO INTERROGATORY NO. 8:

                   22           Meta incorporates by reference its objections and definitions above, including to the terms

                   23

                   24           As an initial matter, Meta objects to this Interrogatory because it consists of twenty-seven

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                   28                                In answering the Interrogatory, Meta does not waive this objection.
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ATTORNEYS AT LAW                                                                      META S FURTHER SUPP. & AMENDED RESP
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                    1           Meta objects to this Interrogatory as vague, ambiguous, and unintelligible as to

                    2

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                    4           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                    5

                    6    in particular to the extent it seeks information concerning is

                    7    copyright infringement.

                    8           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    9    Protective Order and the ESI Order, Meta responds as follows:

                   10           This response should be treated as Confidential under the Protective Order.

                   11

                   12    INTERROGATORY NO. 10:

                   13           Identify all Persons or Related Entities from whom You licensed, purchased or otherwise

                   14    obtained Training Data for the Meta Language Models. For each such provider of Training Data,

                   15    include the name of such person(s), date, amount paid, approximate description and size of data

                   16    You obtained, and Identify the particular models such Training Data was used for.

                   17    RESPONSE TO INTERROGATORY NO. 10:

                   18           Meta incorporates by reference its objections and definitions above, including to the terms

                   19

                   20           As an initial matter, Meta objects to this Interrogatory because it consists of at least three

                   21

                   22    separate from the date of an alleged transaction, how much was paid, or specifics about data. In

                   23    answering the Interrogatory, Meta does not waive this objection.

                   24           Meta objects to this Interrogatory as vague, ambiguous, and unintelligible as to the term

                   25

                   26                                                                        ip with Meta.

                   27           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   28
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ATTORNEYS AT LAW                                                                          META S FURTHER SUPP. & AMENDED RESP
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                    1

                    2    copyright infringement.

                    3           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    4    Protective Order and the ESI Order, Meta responds that it will identify Persons from whom Meta

                    5                                                                             trued above) for the Meta

                    6

                    7    possession, custody, or control, after additional investigation has been completed. Discovery is

                    8    continuing and Meta reserves the right to supplement or amend its response at a later time.

                    9

                   10           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   11    Protective Order, Meta responds as follows:

                   12           This response is designated as Highly Confidential

                   13    Protective Order.

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                   19           This response is designated as Highly Confidential

                   20    Protective Order.

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                   27    INTERROGATORY NO. 11:

                   28           Identify by name all individuals or entities who possess or have possessed stock or
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ATTORNEYS AT LAW                                                                      META S FURTHER SUPP. & AMENDED RESP
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                    1    ownership interests in You greater than five percent.

                    2    RESPONSE TO INTERROGATORY NO. 11:

                    3             Meta incorporates by reference its objections and definitions above, including to the term

                    4             Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                    5    to the needs of the case, is unbounded in time and scope, and seeks information that is not relevant

                    6                                         A list of all individuals or entities that have at any point in time

                    7

                    8    copyright infringement.

                    9             Meta incorporates by reference its most recent SEC FORM DEF 14A, which identifies

                   10

                   11    stock. Meta will produce a copy of that document in its forthcoming production pursuant to Rule

                   12    33(d).       Meta       also      refers      Plaintiff      to        the       Investor     Relations

                   13    (https://investor.fb.com/home/default.aspx) and Company Info (https://about.meta.com/company-

                   14    info/) pages on its website, which contain information about present Meta leadership.

                   15    INTERROGATORY NO. 12:

                   16             Identify by name, department, and job description, all individuals who have directly

                   17    participated in the planning, conception, design, programming, testing, or operation of the Meta

                   18    Language Models during the Relevant Period (including organization charts if applicable),

                   19    Including All Persons with responsibility who have directly participated in the choice or selection

                   20    of Training Data for the Meta Language Models.

                   21    RESPONSE TO INTERROGATORY NO. 12:

                   22             Meta incorporates by reference its objections and definitions above, including to the terms

                   23

                   24             As an initial matter, Meta objects to this Interrogatory because it consists of several

                   25

                   26

                   27

                   28    significance of their role. Meta also objects to this Interrogatory as vague and ambiguous as to the
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ATTORNEYS AT LAW                                                                           META S FURTHER SUPP. & AMENDED RESP
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                    1                                                                                                  Meta

                    2    will construe this Interrogatory to seek information concerning individuals in a managerial role or

                    3    who may be regarded as lead developers with primary responsibility for the planning, conception,

                    4    design, programming, testing, or selection of Training Data (as construed above) used for Meta

                    5    Language Models (as construed above).

                    6           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                    7                                                                                   claims and defenses,

                    8

                    9    copyright infringement claim.

                   10           Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   11

                   12

                   13           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   14    Protective Order and the ESI Order, Meta responds as follows:

                   15

                   16    Open Foundation and Fine-

                   17    having leadership roles in connection with development of Llama 2:

                   18           ·        Science and Engineering Leadership: Guillem Cucurull (Research Engineer),

                   19    Naman Goyal (Software Engineer), Louis Martin (Research Scientist), Thomas Scialom (Research

                   20    Scientist), Ruan Silva (Software Engineer), Kevin Stone (Research Engineer), Hugo Touvron (AI

                   21    Research Scientist).

                   22           ·      Technical and Management Leadership: Sergey Edunov (Director, AI Research),

                   23    Angela Fan (Research Scientist), Melanie Kambadur (Research Engineering Manager), Sharan

                   24    Narang (Research Scientist Manager), Aurelien Rodriguez (Software Engineering Manager),

                   25    Robert Stojnic (Engineering Manager).

                   26           Meta will produce a copy of that paper in its forthcoming production pursuant to Rule 33(d).

                   27           This response is designated as Confidential under the Protective Order.

                   28           In addition, Meta identifies the Edouard Grave (Research Scientist, former employee),
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ATTORNEYS AT LAW                                                                      META S FURTHER SUPP. & AMENDED RESP
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                    1    Guillaume Lample (Research Scientist, former employee), Hugo Touvron (AI Research Scientist),

                    2    and Aurelien Rodriguez (Software Engineering Manager) as lead developers with primary

                    3    responsibility for the planning, conception, design, programming, testing, or operation of Llama 1.

                    4

                    5           This response is designated as Highly Confidential

                    6    Protective Order.

                    7

                    8

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                   14    INTERROGATORY NO. 13:

                   15           Describe in detail the policies and procedures that You follow or have followed in assessing

                   16    whether to permit the use of a dataset as Training Data for a Meta Language Model, and:

                   17           a.      list all datasets that have been so reviewed;

                   18           b.      list datasets that have been permitted to be used as Training Data for any Meta

                   19    Language Model, and the date so designated;

                   20           c.      list datasets that have at any time been forbidden from being used as Training Data

                   21    for any Meta Language Model;

                   22           d.      for each forbidden dataset, list the reason that it was forbidden and the date so

                   23    forbidden;

                   24           e.      if a forbidden dataset was later designated safe to use, list the reason its designation

                   25    was revised and the date so revised.

                   26    RESPONSE TO INTERROGATORY NO. 13:

                   27           Meta incorporates by reference its objections and definitions above, including to the terms

                   28
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ATTORNEYS AT LAW                                                                        META S FURTHER SUPP. & AMENDED RESP
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                    1           As an initial matter, Meta objects to this Interrogatory because it consists of at least three

                    2                                                                                                         -called

                    3    policies or procedures are separate from a list of datasets reviewed, reasons why a dataset was

                    4

                    5    later not. In answering the Interrogatory, Meta does not waive this objection.

                    6           Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                    7    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                    8    particular as the subject matter of the Interrogatory encompasses policies and procedures that are

                    9    legal in nature. Meta will not provide information concerning policies and procedures that

                   10    constitute legal advice, nor will Meta respond to subparts (a), (b), to the extent that it concerns

                   11    whether and when a given dataset received approval for use, and (c)-(e).

                   12           Meta objects to this Interrogatory as vague and ambiguous as to

                   13

                   14    prohibited use of any particular dataset for training a language model. Meta will construe

                   15                                              erred to in subpart (c).

                   16           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   17

                   18    in particular to the extent it seeks information concerning is

                   19    copyright infringement claim.

                   20           Meta objects to this Interrogatory as duplicative and cumulative of Interrogatory No. 1, and

                   21    therefore refers to its response to Interrogatory 1.

                   22

                   23    under Rule 33(a)(1).

                   24

                   25           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   26    Protective   Order,    the   ESI     Order,   and      Rule   33(d),     Meta   identifies   Bates     Nos.

                   27    Meta_Kadrey_00089197,              Meta_Kadrey_00093496,               Meta_Kadrey_00065402,            and

                   28    Meta_Kadrey_00154774 as identifying datasets that Meta has considered for use as text training
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                    1    data for the Meta Language Models (as construed above).

                    2    INTERROGATORY NO. 14:

                    3              Identify by name all individuals or entities who have applied for access to Llama 1. Include

                    4    in Your response:

                    5              a.     The names all individuals or entities who obtained access to Llama 1;

                    6              b.     The names all individuals or entities who you denied access to Llama 1, including

                    7    the names of all individuals or entities who have had their access to Llama 1 revoked or otherwise

                    8    limited by You;

                    9              c.     For each individual or entity whom you denied access to Llama 1, a description of

                   10    the reason(s) why you denied access to that particular individual or entity.

                   11    RESPONSE TO INTERROGATORY NO. 14:

                   12              Meta incorporates by reference its objections and definitions above, including to the terms

                   13

                   14              As an initial matter, Meta objects to this Interrogatory because it consists of at least three

                   15

                   16    who applied for access is separate from a question about who obtained or was denied access, and

                   17    the reasons why (on a person by person basis).

                   18              Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   19    to the needs of the case as it would require Meta to compile a list of every individual who sought

                   20    to use Llama v1 and when and whether they were given access (or not), and then determine the

                   21    reasoning (if there was one) why access was or was not granted. There is no relevance or

                   22

                   23              Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                   24    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                   25    particular as the subject matter of the Interrogatory encompasses determinations that are legal in

                   26    nature.

                   27

                   28    Interrogatories under Rule 33(a)(1).
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ATTORNEYS AT LAW                                                                          META S FURTHER SUPP. & AMENDED RESP
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                    2           Pursuant to Rule 33(d), Meta identifies the Bates Nos. Meta_Kadrey_00065897,

                    3    Meta_Kadrey_00065898,               Meta_Kadrey_00065899,                 Meta_Kadrey_00066056,

                    4    Meta_Kadrey_00066065,               Meta_Kadrey_00187042,                 Meta_Kadrey_00187043,

                    5    Meta_Kadrey_00187044, Meta_Kadrey_00187045. These documents identify individuals who

                    6    received, and who were denied, access to Llama 1.               Meta also identifies Bates Nos.

                    7    Meta_Kadrey_00185688, Meta_Kadrey_00185680, which describe the criteria Meta used to grant

                    8    or deny access to Llama 1.

                    9    INTERROGATORY NO. 15:

                   10           Explain in detail the role of the following individuals in any aspect of the design, training,

                   11    development, testing, marketing, release or support of each of the Meta Language Models:

                   12           a.     Hugo Touvron

                   13           b.     Aurélien Rodriguez

                   14           c.     Tim Dettmers

                   15           d.     Luke Zettlemoyer

                   16           e.     Shawn Presser

                   17           f.     Stella Biderman

                   18           g.     Leo Gao

                   19           h.     Yann LeCun

                   20           i.     John Carmack

                   21           j.     Andrew Bosworth

                   22           k.     Chris Cox

                   23           l.     Jennifer Newstead

                   24           m.     Ahmad Al-Dahle

                   25           n.     Marc Zuckerberg

                   26           o.     Marc Andreessen

                   27    RESPONSE TO INTERROGATORY NO. 15:

                   28           Meta incorporates by reference its objections and definitions above, including to the term
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ATTORNEYS AT LAW                                                                       META S FURTHER SUPP. & AMENDED RESP
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                    1

                    2           As an initial matter, Meta objects to this Interrogatory because it consists of at least fifteen

                    3

                    4

                    5    separate subjects, and are not necessarily related to one another.

                    6           Meta objects to this Interrogatory as vague and ambiguous as to the term

                    7    is undefined and effectively meaningless. Meta also objects to this Interrogatory as vague and

                    8

                    9    will construe this Interrogatory to seek inform

                   10

                   11               the Meta Language Models (as construed above).

                   12           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   13

                   14                                                                                                          f

                   15    copyright infringement.

                   16

                   17    Interrogatories under Rule 33(a)(1).

                   18

                   19           Based on a reasonable investigation, Meta describes the roles of the following individuals

                   20    in the development of the Meta Language Models as follows:

                   21           This response is designated as Highly Confidential

                   22    Protective Order.

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                    1    Dated: December 13, 2024                            COOLEY LLP

                    2
                                                                      By: /s/ Judd Lauter
                    3                                                    Bobby Ghajar
                                                                         Mark Weinstein
                    4                                                    Kathleen Hartnett
                                                                         Phillip Morton
                    5                                                    Judd Lauter
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                    6                                                    Matthew Brigham
                                                                         Colette Ghazarian
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                    1                                          PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3    in Los Angeles County, State of California, in the office of a member of the bar of this Court, at

                    4    whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5    within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite 900, Los

                    6    Angeles, CA 90071. On the date set forth below I served the documents described below in the

                    7    manner described below:

                    8                   DEFENDANT META PLATFORMS, INC S FURTHER SUPPLEMENTAL AND AMENDED
                                        RESPONSES AND OBJECTIONS TO PLAINTIFFS FIRST SET OF INTERROGATORIES
                    9
                                        (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   10                   practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13
                                Executed on December 13, 2024, at Los Angele , California.
                   14

                   15                                                 /s/Jerry Gonzalez

                   16                                                 Jerry Gonzalez

                   17

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                                                                          Farnsworth and Representative Plaintiffs
                   13    Attorneys for Plaintiff Christopher              and the Proposed Class
                         Farnsworth and Representative Plaintiffs
                   14    and the Proposed Class
                   15

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                   17

                   18                               UNITED STATES DISTRICT COURT

                   19                            NORTHERN DISTRICT OF CALIFORNIA

                   20    RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC
                   21       Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC S
                                                                         FURTHER SUPPLEMENTAL AND AMENDED
                   22           v.                                       RESPONSES AND OBJECTIONS TO
                                                                         PLAINTIFFS SECOND SET OF
                   23    META PLATFORMS, INC., a Delaware                INTERROGATORIES
                         corporation;
                   24
                                                         Defendant.
                   25                                                    Trial Date:
                                                                         Date Action Filed: July 7, 2023
                   26

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                                                                                 & OBJ S TO PLTFS SECOND SET OF ROGS
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                    1    PROPOUNDING PARTY:           PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                      GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                 DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                    3                                 RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                                                      TERKEURST, AND CHRISTOPHER FARNSWORTH
                    4
                         RESPONDING PARTY:            DEFENDANT META PLATFORMS, INC.
                    5
                         SET NUMBER: ONE              SECOND
                    6

                    7           Pursuant to Federal Rule of Civil Procedure 33 and Local Rule 33, Defendant Meta

                    8    Platforms, Inc.    Meta     responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,

                    9    Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,

                   10    Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and

                   11    Christopher Farnsworth                     Second                                           .

                   12    I.     RESPONSES TO ALL INTERROGATORIES

                   13           1.      Meta              s to these Interrogatories are made to the best of Meta        current

                   14                present knowledge, information, and belief. Said responses are at all times subject to

                   15    such additional or different information that discovery or further investigation may disclose and,

                   16    while based on the present state of Meta

                   17    and such additional knowledge of facts, as may result from Meta

                   18    investigation. Meta reserves the right to make any use of, or to introduce at any hearing and at trial,

                   19    information and/or documents responsive to these Interrogatories but discovered subsequent to the

                   20    date of these responses, including, but not limited to, any such information or documents obtained

                   21    in discovery herein.

                   22           2.      To the extent that Meta responds to an Interrogatory by stating that Meta will

                   23    provide information or documents that Meta deems to embody material that is private, business

                   24    confidential, proprietary, trade secret, or otherwise protected from disclosure pursuant to Federal

                   25    Rule of Civil Procedure 26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject

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                    3           3.        Meta reserves all objections or other questions as to the competency, relevance,

                    4    materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this

                    5    or any other action for any purpose whatsoever of Meta

                    6    thing identified or provided in response to the Interrogatories.

                    7    II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                    8           Whether or not separately set forth in response to each Interrogatory, Meta makes these

                    9    objections to the following Instructions and Definitions:

                   10           1.        Meta objects to all defined terms to the extent that they are not utilized in Plaintiffs

                   11    Second Set of Interrogatories.

                   12           2.                                                                s      overbroad and unduly

                   13    burdensome to the extent that it encompasses oral contracts, arrangements, or understandings,

                   14                                                                                                 s

                   15

                   16                                                                                                     s

                   17    written contracts, including drafts, versions, amendments, exhibits, and appendices thereof.

                   18           3.

                   19    with and otherwise seeks to circumvent the custodian and search term limits for electronic

                   20    communications (including emails and other electronic correspondence, and documents attached

                   21

                   22                Meta will produce Documents, including Communications, pursuant to the terms of the

                   23    ESI Order, and any agreement to produce such Documents is explicitly in view of the terms of the

                   24    ESI Order. To the extent that Meta responds to a Request, including by agreeing to search for

                   25    relevant, non-

                   26    is not a representation that any particular custodian or search term is appropriate. Meta expressly

                   27    reserves the right to object to any custodians and search terms proposed by Plaintiffs.

                   28
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                    1            4.

                    2    that has since been replaced by the Corrected Second Consolidated Amended Complaint (ECF No.

                    3                                                                                         ated Amended

                    4    Complaint.

                    5            5.

                    6                                                                                            Meta further

                    7    objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                    8    the case to the extent that it purports to require Meta to produce documents or information

                    9

                   10    on corpuses of text that include any of Plaintif                               For the same reason,

                   11    Meta objects to these definitions to the extent that they purport to require Meta to produce

                   12

                   13    defenses. For purpo

                   14

                   15                                                                                        LM released by

                   16    Meta under that name on April 18, 2024, July 23, 2024, and September 25, 2024.

                   17            6.                                                      overbroad, unduly burdensome, and

                   18    disproportionate to the needs of the case to the extent that it purports to require Meta to produce

                   19

                   20    shareholders with an ownership of

                   21    to mean Meta Platforms, Inc.

                   22            7.

                   23                                                                            Meta further objects to this

                   24    definition as overbroad, unduly burdensome, and disproportionate to the needs of the case to the

                   25    extent that it purports to require Meta to produce documents concerning LLMs that were not

                   26

                   27    allegedly copyrighted works. For the same reason, Meta objects to this definition to the extent that

                   28
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                    1    defenses.

                    2    family of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama,

                    3    and Llama 3 (as those terms are construed above).

                    4             8.

                    5

                    6    construe the Relevant Period to mean January 1, 2022 to the present.

                    7             9.                                                                  ague, ambiguous, and

                    8

                    9

                   10                                              compass any dataset considered by any Meta employee,

                   11    regardless of the seriousness of such consideration and whether or not that consideration was ever

                   12    acted upon. Meta further objects to this definition to the extent it purports to include datasets (or

                   13

                   14    and which are not the subject of any allegations of copyright infringement by Plaintiffs. Meta will

                   15    constr

                   16    Models (as construed above).

                   17             10.

                   18

                   19                                                                                                      this

                   20    response is to the Interrogatories, not any document requests. Meta further objects to this definition

                   21    to the extent it seeks to impose upon Meta an obligation to investigate information or documents

                   22    outside of its possession, custody, or control. For purposes of these responses, Meta construes the

                   23

                   24             11.   Meta objects to Instruction 1 to the extent that it purports to require more of Meta

                   25    than any obligation imposed by law, and would subject Meta to unreasonable and undue burden

                   26    and expense. Meta will supplement or amend its responses to these Interrogatories in accordance

                   27

                   28
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ATTORNEYS AT LAW                                                                        META S FURTHER SUPP. & AMENDED RESP
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                    1           12.

                    2    2000 to the present. Such definition is overbroad, unduly burdensome, and disproportionate to the

                    3    needs of the case because it both precedes the existence of Facebook (and therefore Meta) by

                    4    several years, and the development of the Meta Language Models by decades. For the same reason,

                    5                                                                                        pass information

                    6                                            and defenses. The Instruction is also inconsistent with the

                    7

                    8    and ambiguous. Meta will construe the Relevant Period to mean January 1, 2022 to the present.

                    9           13.     Meta objects to Instruction 4 (referring to Fed. R. Civ. P. Rule 33(d)) on the ground

                   10    that it purports to require more of Meta than any obligation imposed by law, and would subject

                   11    Meta to unreasonable and undue burden and expense.

                   12           14.     Meta objects to Instruction 6 (outlining additional obligations for allegedly

                   13    incomplete responses) to the extent that it purports to require Meta to investigate information

                   14    outside of its possession, custody, or control.

                   15           15.     Meta objects to Instruction 8 (outlining additional obligations for any privilege

                   16    objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   17    law, and would subject Meta to unreasonable and undue burden and expense.

                   18           16.     Meta objects to Instruction 9 (outlining additional obligations for any work product

                   19    objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   20    law, and would itself require disclosure of information protected by attorney-client privilege and/or

                   21    attorney work product doctrine.

                   22           17.     Meta objects to Instruction 10 (building in a separate question for each

                   23    Interrogatory) on the ground that it purports to require more of Meta than any obligation imposed

                   24    by law, seeks disclosure of information protected by attorney-client privilege and/or attorney work

                   25

                   26           18.

                   27                                                                                             purports to

                   28    require more of Meta than any obligation imposed by law, and would subject Meta to unreasonable
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                    1    and undue burden and expense. Meta further objects to Instruction 11 to the extent that it purports

                    2    to require Meta to investigate information outside of its possession, custody, or control. As such

                    3    the Instruction if overly broad, as well. Subject to any objections applicable to a particular

                    4    Interrogatory, Meta will conduct a reasonable, proportionate search for non-privileged, relevant,

                    5    responsive information within its possession, custody, or control.

                    6           19.       In responding to all Interrogatories, Meta will comply with the requirements of the

                    7    Federal Rules of Evidence and Federal Rule of Civil Procedure 26.

                    8    III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL INTERROGATORIES

                    9    INTERROGATORY NO. 16:

                   10           State all facts on which you base Your contention that Your conduct constitutes fair use (17

                   11    U.S.C. § 107).

                   12    FIRST AMENDED AND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 16:

                   13           Meta incorporates by reference its objections and definitions above.

                   14

                   15    which is undefined and could refer to any conduct. Meta will construe this Interrogatory to seek

                   16                                                                               the conduct alleged in the

                   17    Complaint (as construed above).

                   18           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   19    to the needs of the case to the extent it seeks information that Meta does not intend to rely on to

                   20    support a claim of fair use and calls for a lengthy narrative with regard to twelve different plaintiffs

                   21    and more than forty works.

                   22           Meta objects to this Interrogatory to the extent it prematurely calls for expert testimony or

                   23    identification of facts yet to be disclosed by Plaintiffs, and to the extent that it requires Meta to

                   24    respond to legal arguments or theories not yet disclosed by Plaintiffs.

                   25

                   26    Interrogatories under Rule 33(a)(1).

                   27           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   28    Protective Order, Meta responds as follows:
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ATTORNEYS AT LAW                                                                         META S FURTHER SUPP. & AMENDED RESP
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                    2    highly transformative in nature, because it adds something new, with a further purpose or different

                    3    character, altering those works with considerable new expression, meaning, or message. To the

                    4

                    5    transformative both in terms of purpose and expression. With respect to -
                                                                                                 purpose
                                                                                                   -~
                    6    were allegedly used as data to train the models. In other words, the works were allegedly a part of

                    7    a corpus of text (specifically, terabytes of text from a variety of sources), from which the models

                    8    built complex statistical representations of language derived from the patterns, structures, and

                    9    relationships between words within the corpus. This enables the models to predict the next word

                   10    in a sequence, and thereby provide useful responses to any manner of input prompts. Such use of

                   11    textual material serves a fundamentally different purpose from the original texts on which the Meta

                   12    Language      Models      were     trained.     See      e.g.,    Meta_Kadrey_00000001-00000077,

                   13    Meta_Kadrey_00000078-00000104,                                    Meta_Kadrey_00000224-00000248,

                   14    Meta_Kadrey_00093669- Meta_Kadrey_00093760.

                   15           The text corpus used to train the Meta Language Models includes a large amount of textual

                   16

                   17    a tiny fraction of the textual training dataset (both individually and collectively). The purpose of

                   18    the models, and the use of text datasets, is to create new, original textual output, not to reproduce

                   19    the content of the datasets with which it was trained. This is demonstrated by, among other things,

                   20

                   21    (see e.g., Meta_Kadrey_00000277) and the wide variety of uses that have been made of the models.

                   22    See e.g., Meta_Kadrey_00092978-00093308, Meta_Kadrey_00062157. Indeed, all Plaintiffs have

                   23    admitted that they are not aware of any output from any Meta Language Model that replicates any

                   24    protected expression in their at-issue books. See e.g.

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                    3                                                                                 s, Resp. to RFA No. 24

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                    6                                                                 s 2nd Set of RFAs, Resp. to RFA No. 24

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                    8

                    9    (same); C. Golden 9/17/2024 Dep. 260:6 261:13 (Mr. Golden testifying that the present lawsuit is

                   10                                                                                               80:3 (Mr.

                   11    Greer testifying that his claims concern the use of his works to train large language models); D.

                   12    Hwang 9/16/2024 Dep. 252:23 253:6 (Mr. Hwang testifying that the operative complaint does not

                   13    allege that the Meta Language models create any output that is similar to any of his books or plays);

                   14    L. TerKeurst 9/23/2024 Dep. 226:20 25, 229:5 12 (Ms. TerKeurst testifying that she was not

                   15    aware of any text generated by the Meta Language Models that was substantially similar that of her

                   16    asserted works); J. Woodson Dep. 328:23 329:4 (Ms. Woodson testifying that she is not aware of

                   17    any output from any Meta LLM in which any of her characters appeared.); S. Silverman 10/10/2024

                   18    Dep. 42:5                                                                                         A:

                   19                               id. 156:25

                   20    comes from it.                  id. 321:9                                  If the output might not be

                   21    this book, but without this book it wouldn't have the out-

                   22    Dep. 52:22 53:11 (Mr. Coates testifying that he has not personally created or witnessed someone

                   23

                   24    Rough Drft. Dep. 38:11 16, 234:5 11 (Mr. Klam testifying that he is unaware of any instance in

                   25    which any Meta AI tool has output verbatim text from any of his books and cannot identify any

                   26

                   27    R. Snyder Rough Drft. Dep. 36:2 4 (Ms. Snyder testifying that she has never seen any output

                   28    generated by a Meta AI model that copies any language of hers); cf. D. Hwang 9/16/2024 Dep.
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                    1    363:6 15 (Mr. Hwang testifying that he did not believe when he filed suit that the Meta Language

                    2    Models could create works that were substantially similar to his works); L. Lippman 9/17/2024

                    3    Dep. 311:16 312:1 (Ms. Lippman testifying that she is aware that the current version of the

                    4

                    5    similar to her books); A. Greer 9/24/2024 Dep. 28:17 20 (same); J. Díaz 11/20/2024 Dep. 216:4

                    6    13 (same)

                    7           The transformative nature also extends to expression. The pre-training process involves a

                    8    number of steps that fundamentally transform the input dataset text in order to facilitate training of

                    9

                   10    with expert discovery. At a high-level, the pre-

                   11    which the data in training datasets is broken down and encoded into a series of values known as

                   12                                                                                           LLM training

                   13    algorithms can understand.        (See e.g., Meta_Kadrey_00000078-00000104, Section 2.1

                   14                                              -                                   The input data is then

                   15    used in a complex series of LLM training algorithms that adjust the large number of numerical

                   16    values (known as parameters which include weights) in the LLM, that define the connections and

                   17    relationships between the nodes in the LLM.

                   18    better predict correct outputs based on input data. These numerical parameters enable the LLM,

                   19    after the training process, to generate better output data in response to input prompts. The process

                   20    of training of an LLM represents a complete transformation into a form that is entirely

                   21    unrecognizable from the original training data.

                   22                                                                                -training and fine-tuning

                   23    processes used with the Meta Language Models. Plaintiffs have not alleged that their works were

                   24    used as data in any post-training and fine-tuning processes for any Meta Language Model, but

                   25    nevertheless, post-training and fine-tuning processes similarly involve a highly transformative use

                   26    of the data used in those processes, both in terms of purpose and expression. The data used in post-

                   27    training and fine-tuning is used to fine tune model parameters to improve the performance, quality,

                   28    and behavior of the models and their responses. For example, in the post-
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                    1    is tuned to follow instructions, align with human preferences, and improve specific capabilities (for

                    2                                                                            In the post-training and fine-

                    3    tuning processes (which will be discussed in more detail in expert discovery), post-training data is

                    4    likewise used in a series of complex LLM training algorithms that further tailor the model

                    5    parameters to improve the quality of responses and the ability of the model to perform various

                    6    tasks. Post-training and fine-tuning processes also generally involve an amount of data that

                    7    constitutes a fraction of the amount of data used in pre-training the model. Additionally, and for

                    8

                    9    (including ablation experiments) to assess the behavior and performance of the Meta Language

                   10    Models. Plaintiffs likewise have not alleged that their works were used as data for research or

                   11    evaluation of Meta Language Model, but nevertheless, the data used in these processes serves the

                   12    transformative purpose of studying and improving model behavior, and furthering the research and

                   13    development of the Meta Language Models.

                   14           As a further indication of the transformative nature, and the fact that the training process

                   15    does not simply make a copy of the input dataset, the training process is so computationally

                   16    complex    that   it   requires   an   enormous    amount     of   computing    power.     See   e.g.,

                   17    Meta_Kadrey_00000001-                                                   -parameter model, our code

                   18    processes around 380 tokens/sec/GPU on 2048 A100 GPU with 80GB of RAM. This means that

                   19

                   20                                                                                                         -

                   21    commercial, nonprofit, and educational (including research) purposes. Meta is investing billions

                   22    of dollars in research and development of state-of-the-art LLM technology that it is then making

                   23    available to the public.

                   24    release of Llama 1, Llama 2, CodeLlama, and Llama 3, 3.1, and 3.2 to the open source

                   25    community. These LLMs were provided openly to the public, pursuant to an open license that

                   26    permits developers, researchers, and institutions (with the exception of licensees with more than

                   27    700 million monthly active users) to use and modify the Llama models free of charge. See e.g.,

                   28    Meta_Kadrey_00000160-00000162,                                  Meta_Kadrey_00093275-00093284,
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                    1    Meta_Kadrey_00093658-00093760. The open release of Llama has resulted in the Llama models

                    2    being downloaded hundreds of millions of times by researchers and developers from around the

                    3    world and has catalyzed development of new and improved AI tools and technologies. See e.g.,

                    4    Meta_Kadrey_00092978-00093308, Meta_Kadrey_00062157. The open and public release of

                    5    Llama has allowed the public to access highly capable LLM technologies that would otherwise be

                    6    available only to large organizations and/or at considerable expense. Mor

                    7    investment and open release is contributing to the U.S. economy, the emergence of a new and

                    8

                    9    competitors. In that regard, Meta has agreed to permit members of the Five Eyes intelligence

                   10    alliance, namely, the United States, Canada, UK, Australia, and New Zealand, to use the Meta

                   11    Language Models. See e.g., Meta_Kadrey_00213585.

                   12

                   13    works.

                   14    word frequencies, grammar, and syntax from those works to generate new content. This

                   15    information constitutes either facts and ideas, which are not protectable by copyright, or is

                   16    otherwise unrelated to the purpose of copyright protection. Furthermore, given that training the

                   17    Meta Language Models requires terabytes of text, that greater volumes of text tends to improve

                   18    model performance on objective benchmarks measuring reasoning and knowledge of facts, and the

                   19    formats in which the text is available, it was reasonable for Meta to utilize copies of entire works

                   20    (as opposed to

                   21    manner that minimizes the likelihood that training data can be reproduced as model output. For

                   22    example, books data comprised only approximately 4.5% of tokens used to train Llama 1 and only

                   23    4.4% of tokens used to train Llama 2.

                   24

                   25    books and, possibly, to create derivative works from those books, such as for audio books and film

                   26    and television adaptations. The Meta Language Models and their outputs do not serve as a market

                   27

                   28                                         Plaintiffs have produced no evidence to the contrary, such as
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                    1    evidence of lost sales or other financial harm. To the contrary, plaintiffs have admitted that they

                    2    are not aware of any such harm. See e.g.

                    3    RFAs, Resp. to RFA No. 15 (admitting, subject to objections, that Plaintiff is unaware of lost sales

                    4

                    5

                    6

                    7                                                                                     Resp. to RFA No.

                    8

                    9

                   10                                                           et of RFAs, Resp. to RFA No. 15 (same); S.

                   11

                   12

                   13    Woodson 9/6/2024 Resps. & Objs.

                   14    TerKeurst

                   15

                   16                                                                                         alleged use of

                   17                                                                   TerKeurst 9/6/2024 Resps. & Objs.

                   18

                   19

                   20    unaware of lost licensing opportunities due to alleged infringement); J. Díaz 9/19/2024 Resps. &

                   21

                   22

                   23                d Set of RFAs, Resp. to RFA No. 18 (same); D. Hwang 9/19/2024 Resps. & Objs. to

                   24

                   25                                                                                                      o

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                   27

                   28                                                                                   4 Resps. & Objs. to
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                    1

                    2                                                                TerKeurst 9/12/2024 Resps. & Objs. to

                    3

                    4

                    5    Plaintiff is unaware of (1) persons reading t

                    6

                    7

                    8    described in R

                    9

                   10                                                                                           RFAs, Resp.

                   11

                   12

                   13    RFAs, Resp. to RFA Nos. 22 and 23 (same); M. Klam 7/22/2024

                   14

                   15    2nd Set of RFAs, Resp. to RFA Nos. 22 and 23 (same); S. Silverman 7/22/2024 Resps. & Objs. to

                   16                                             os. 22 and 23 (same); R. Snyder 7/22/2024 Resps. & Objs.

                   17

                   18

                   19    Resps. & Objs.

                   20    9/16/2024 Dep. 254:7 13 (Mr. Hwang testifying that he did not know whether he had experienced

                   21    any financial loss as a result of the alleged training of the Meta Language Models on his asserted

                   22    works); D. Hwang 9/16/2024 Dep. 290:10 17, 291:22 292:4 (Mr. Hwang testifying that he was

                   23    not aware of any lost sales of his asserted works due to the alleged infringement in the complaint);

                   24    R. Kadrey 9/25/2024 Dep. 223:23 224:1 (Mr. Kadrey testifying that he was unaware of any injury

                   25    other than purported harm of not receiving compensation from Meta); R. Kadrey 9/25/2024 Dep.

                   26    222:6 9 (Mr. Kadrey testifying that he was not aware of any lost sales of his asserted works due to

                   27    the alleged infringement in the complaint); L. Lippman 9/17/2024 Dep. 339:3 10 (Ms. Lippman

                   28    testifying that she is unaware of any financial harm that she has suffered as a result of conduct by
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                    1    Meta alleged in the Complaint); A. Greer 9/24/2024 Dep. 120:21 121:10 (Mr. Greer testifying that

                    2

                    3    infringement of his works, or whether it is possible that book sales have actually increased due to

                    4    his participation in this lawsuit); S. Silverman 10/10/2024 Dep. 204:12 205:7, 296:10 297:2 (Ms.

                    5    Silverman testifying that she is unaware of any evidence to suggest someone did not buy her book

                    6    because they could generate a summary on a Meta AI tool, evidence of lost sales or lost licensing

                    7

                    8                                                                                      125:25 (Mr. Coates

                    9

                   10    J. Díaz 11/20/2024 Dep. 337:22 339:6, 340:21 350:16 (Mr. Díaz testifying that he is unaware of

                   11    any decrease in sales of his books or any monetar

                   12    train its Llama models) ; R. Snyder 12/11/2024 Rough Drft. Dep. 249:22 250:1, 250:14 251:1

                   13    253:5, 259:19 23 (Ms. Snyder testifying that she is unaware of any evidence of lost sales or lost

                   14    licensing opportu

                   15    9/30/2024 Dep. 383:14 20, 389:5 20 (Ms. Woodson testifying that she is unaware of any lost

                   16                                                                                                 ged in the

                   17    Complaint); M. Klam 12/10/2024 Rough Drft. Dep. 325:21 326:3, 328:6-10, 330:13 16 (Mr. Klam

                   18    testifying that he is unaware of any evidence that he lost sales of his asserted works or lost licensing

                   19                                                       ged in the Complaint); C. Farnsworth 12/4/2024

                   20    Rough Drft. Dep. 138:20 139:8 (Mr. Farnsworth testifying that he could not point to any specific

                   21

                   22

                   23

                   24    such market today. Plaintiffs have admitted as much in discovery. Moreover, testimony from

                   25

                   26    indicate that there has not been, and is not a market for licensing books for AI training. See e.g., S.

                   27    Choudhury 12/5/2024 Dep. 20:6-22:21, 65:10-21; A. Boesenberg 11/18/2024 Dep. 381:14-

                   28    22. Moreover, any particular book has no independent value as training data and/or is
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                    1    interchangeable with countless other books. In any case, such a market would be for a

                    2    transformative use. It would also be impractical, if not impossible, for companies developing

                    3    LLMs to attempt to negotiate licenses with each individual book rights holder for various reasons,

                    4    including but not limited to the amount of time and cost necessary to do so would have precluded

                    5    development of the models in the first instance, in particular given the time and costs relative to the

                    6    de minimis value of individual works to the development of the models. In support, Meta intends

                    7

                    8    witness testimony, as well as documents produced in this litigation

                    9    INTERROGATORY NO. 17:

                   10            If You or any of Your employees and/or agents intend to assert the advice of counsel

                   11    defense, state any and all facts upon which You or any of your employees and/or agents intend to

                   12    rely on for that contention.

                   13    SECOND AMENDED RESPONSE TO INTERROGATORY NO. 17:

                   14            Meta incorporates by reference its objections and definitions above.

                   15            Meta objects to this Interrogatory as vague and ambiguous as to the reference to Your

                   16    employees and/or agents with respect to any defense in this case, as no Meta employees or agents

                   17    are parties to this case.

                   18

                   19    under Rule 33(a)(1).

                   20            Subject to and without waiving the foregoing objections, Meta responds as follows: Meta

                   21    does not intend to assert the advice of counsel defense in this case.

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                    1                                          PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3    in Los Angeles County, State of California, in the office of a member of the bar of this Court, at

                    4    whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5    within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite 900, Los

                    6    Angeles, CA 90071. On the date set forth below I served the documents described below in the

                    7    manner described below:

                    8                   DEFENDANT META PLATFORMS, INC S FURTHER SUPPLEMENTAL AND AMENDED
                                        RESPONSES AND OBJECTIONS TO PLAINTIFFS          SECOND SET OF
                    9                   INTERROGATORIES

                   10                   (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                                        practice of Cooley LLP for the preparation and processing of documents in
                   11                   portable document format (PDF) for e-mailing, and I caused said documents to be
                                        prepared in PDF and then served by electronic mail to the parties listed below.
                   12
                         on the following part(ies) in this action:
                   13

                   14           Executed on December 13, 2024, at Los Angele , California.

                   15
                                                                      /s/Jerry Gonzalez
                   16
                                                                      Jerry Gonzalez
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                         Palo Alto, CA 94304
                         Telephone: (650) 815-4131
                   17
                         Counsel for Defendant Meta Platforms, Inc.
                   18

                   19                               UNITED STATES DISTRICT COURT
                   20                            NORTHERN DISTRICT OF CALIFORNIA
                   21
                         RICHARD KADREY, et al.,                         Lead Case No. 3:23-cv-03417-VC
                   22                                                    Related Case No. 4:23-cv-06663
                            Individual and Representative Plaintiffs,
                   23                                                    DEFENDANT META PLATFORMS, INC S
                                v.                                       FIRST SUPPLEMENTAL RESPONSES AND
                   24                                                    OBJECTIONS TO PLAINTIFFS THIRD SET
                         META PLATFORMS, INC., a Delaware                OF INTERROGATORIES
                   25    corporation;

                   26                                    Defendant.

                   27

                   28
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                                                                                             PLTFS THIRD SET OF ROGS
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                    1    PROPOUNDING PARTY:           PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                      GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                 DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                    3                                 RACHEL LOUISE SNYDER, JACQUELINE WOODSON, LYSA
                                                      TERKEURST, AND CHRISTOPHER FARNSWORTH
                    4
                         RESPONDING PARTY:            DEFENDANT META PLATFORMS, INC.
                    5
                         SET NUMBER: ONE              THIRD
                    6

                    7           Pursuant to Federal Rule of Civil Procedure 33 and Local Rule 33, Defendant Meta

                    8    Platforms, Inc.    Meta     responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,

                    9    Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,

                   10    Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, Lysa TerKeurst, and

                   11    Christopher Farnsworth                     Third                                          .

                   12    I.     RESPONSES TO ALL INTERROGATORIES

                   13           1.      Meta              s to these Interrogatories are made to the best of Meta       current

                   14                present knowledge, information, and belief. Said responses are at all times subject to

                   15    such additional or different information that discovery or further investigation may disclose and,

                   16    while based on the present state of Meta

                   17    and such additional knowledge of facts, as may result from Meta

                   18    investigation. Meta reserves the right to make any use of, or to introduce at any hearing and at trial,

                   19    information and/or documents responsive to these Interrogatories but discovered subsequent to the

                   20    date of these responses, including any such information or documents obtained in discovery herein.

                   21           2.      To the extent that Meta responds to an Interrogatory by stating that Meta will

                   22    provide information or documents that Meta deems to embody material that is private, business

                   23    confidential, proprietary, trade secret, or otherwise protected from disclosure pursuant to Federal

                   24    Rule of Civil Procedure 26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject

                   25

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                   27    -

                   28                                           .
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                    1           3.        Meta reserves all objections or other questions as to the competency, relevance,

                    2    materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this

                    3    or any other action for any purpose whatsoever of Meta

                    4    thing identified or provided in response to the Interrogatories.

                    5    II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

                    6           Whether or not separately set forth in response to each Interrogatory, Meta makes the

                    7    following objections to              Instructions and Definitions:

                    8           1.        Meta objects to all defined terms to the extent that they are not utilized in Plaintiffs

                    9    Second Set of Interrogatories.

                   10           2.

                   11    with and otherwise seeks to circumvent the custodian and search term limits for electronic

                   12    communications (including emails and other electronic correspondence, and documents attached

                   13

                   14                Meta will produce Documents, including Communications, pursuant to the terms of the

                   15    ESI Order, and any agreement to produce such Documents is explicitly in view of the terms of the

                   16    ESI Order. To the extent that Meta responds to a Request, including by agreeing to search for

                   17    relevant, non-

                   18    is not a representation that any particular custodian or search term is appropriate. Meta expressly

                   19    reserves the right to object to any custodians and search terms proposed by Plaintiffs.

                   20           3.        Meta objects                                      overbroad, unduly burdensome, and

                   21    disproportionate to the needs of the case to the extent that it purports to require more of Meta than

                   22    any obligation imposed by law, and would subject Meta to unreasonable and undue burden and

                   23    expense.

                   24

                   25                                                  ailed narrative statement or description of specific facts.

                   26           4.

                   27    terms and phrases

                   28
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                    3    as overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent that

                    4    it purports to require Meta to produce documents concerning                             LLMs    that

                    5    were not publicly released and/or were not trained on corpuses of text that allegedly include any of

                    6                        copyrighted works. For the same reason, Meta objects to this definition to the

                    7    extent that it purports to require Meta to produce

                    8    claims or defenses. Meta construes

                    9    of LLMs publicly released by Meta, namely, Llama 1, Llama 2, Code Llama, and Llama 3.

                   10           5.

                   11                                                                                            Meta further

                   12    objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                   13    the case to the extent that it purports to require Meta to produce documents or information

                   14    concerning LLMs that were not publicly released and/or were not trained on corpuses of text that

                   15                                                    works. For the same reason, Meta objects to these

                   16    definitions to the extent that they purport to require Meta to produce documents or information

                   17                                                                                 For purposes of these

                   18    responses, Me

                   19

                   20                                                                s released by Meta under that name on

                   21    April 18, 2024, July 23, 2024, and September 25, 2024.

                   22           6.                                                     overbroad, unduly burdensome, and

                   23    disproportionate to the needs of the case to the extent that it purports to require Meta to produce

                   24    documents outside of its possession, custody, or control. Meta construes

                   25    Meta Platforms, Inc.

                   26           7.

                   27

                   28    construes the Relevant Period to mean January 1, 2022 to the present.
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                    1           8.      Meta

                    2                                                                                 Complaint    databases

                    3    including but not limited to . .     and                                         augmentations, or

                    4    modifications of such databases.

                    5

                    6

                    7    Books3, Z-Library (aka B-                                                                 .

                    8           9.

                    9                                                               construes

                   10    platform.

                   11           10.     Meta objects                                                  as vague, ambiguous,

                   12    overbroad, unduly burdensome, and disproportionate to the needs of the case to the extent these

                   13    terms refer to processes other than pretraining or post-training processes. Meta construes

                   14                                                  -training processes.

                   15           11.     Meta objects to Instruction 1 to the extent that it purports to require more of Meta

                   16    than any obligation imposed by law, and would subject Meta to unreasonable and undue burden

                   17    and expense. Meta will supplement or amend its responses to these Interrogatories in accordance

                   18

                   19           12.

                   20    2000 to the present. Such definition is overbroad, unduly burdensome, and disproportionate to the

                   21    needs of the case because it both precedes the existence of Facebook (and therefore Meta) by

                   22    several years, and the development of the Meta Language Models by decades. For the same reason,

                   23                                                                                       pass information

                   24                                           and defenses. The Instruction is also inconsistent with the

                   25

                   26    and ambiguous. Meta construes the Relevant Period to mean January 1, 2022 to the present.

                   27           13.     Meta objects to Instruction 5 (referring to Fed. R. Civ. P. Rule 33(d)) on the ground

                   28    that it purports to require more of Meta than any obligation imposed by law, and would subject
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                    1    Meta to unreasonable and undue burden and expense.

                    2           14.     Meta objects to Instruction 6 (outlining additional obligations for allegedly

                    3    incomplete responses) to the extent that it purports to require Meta to investigate information

                    4    outside of its possession, custody, or control.

                    5           15.     Meta objects to Instruction 7 (outlining additional obligations for any privilege

                    6    objection or work product objection) on the ground that it purports to require more of Meta than

                    7    any obligation imposed by law, would subject Meta to unreasonable and undue burden and expense,

                    8    and would itself require disclosure of information protected by attorney-client privilege and/or

                    9    attorney work product doctrine.

                   10           16.     Meta objects to Instruction 8 (building in a separate question for each Interrogatory)

                   11    on the ground that it purports to require more of Meta than any obligation imposed by law, seeks

                   12    disclosure of information protected by attorney-client privilege and/or attorney work product

                   13

                   14           17.     Meta objects to Instruction 10

                   15                                                                                              purports to

                   16    require more of Meta than any obligation imposed by law, and would subject Meta to unreasonable

                   17    and undue burden and expense. Meta further objects to Instruction 11 to the extent that it purports

                   18    to require Meta to investigate information outside of its possession, custody, or control. As such,

                   19    the Instruction is overly broad as well. Subject to any objections applicable to a particular

                   20    Interrogatory, Meta will conduct a reasonable, proportionate search for non-privileged, relevant,

                   21    responsive information within its possession, custody, or control.

                   22           18.     In responding to all Interrogatories, Meta will comply with the requirements of the

                   23    Federal Rules of Evidence and Federal Rule of Civil Procedure 26.

                   24    III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL INTERROGATORIES

                   25    INTERROGATORY NO. 19:

                   26           Describe the total revenue You have received and forecast or otherwise expect you will

                   27    receive from the distribution or use of Llama Models since the start of their development, including

                   28    by way of any direct sales, licensing fees, or other financial or in-kind benefits.
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                    1    RESPONSE TO INTERROGATORY NO. 19:

                    2              Meta incorporates by reference its objections and definitions above.

                    3

                    4

                    5                               -                                  is Interrogatory as seeking information

                    6

                    7    above).

                    8              Meta objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

                    9

                   10    claims and defenses.

                   11              Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   12

                   13    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                   14    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   15    interrogatories or is in the process of supplementing them. Without leave of Court, Plaintiffs served

                   16    additional inter                                                                       -

                   17

                   18              Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   19    Protective Order and the ESI , Meta responds as follows:

                   20              Pursuant to Rule 33(d), Meta refers Plaintiffs to the following documents:

                   21              Meta_Kadrey_00089020,        Meta_Kadrey_00092364,        and     Meta_Kadrey_00093345,

                   22    Meta_Kadrey_00093571.

                   23

                   24    conducted an additional search for non-privileged documents in its possession, custody, or control

                   25                                                                                ith the Llama Models (as

                   26    construed above), if any. Meta will amend its response to this Interrogatory to identify such

                   27    documents, if any, after they have been produced.

                   28
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                    1           This response is designated as Highly Confidential

                    2    Protective Order.

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                   18           Meta further identifies Meta_Kadrey_00156462, which reflects updated financial forecasts,

                   19

                   20    INTERROGATORY NO. 20:

                   21           Describe any partnerships or collaborations related to the Llama Models You have entered

                   22    with third parties that have resulted in financial benefits, including the details of such arrangements,

                   23    such as financial terms, revenue or in-kind benefits received in relation to them.

                   24    RESPONSE TO INTERROGATORY NO. 20:

                   25           Meta incorporates by reference its objections and definitions above.

                   26

                   27                                                        -

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                    1    seeking documents concerning revenues generated by Meta from its agreements with third parties

                    2    concerning use of the Llama Models (as construed above).

                    3           Meta objects to this Interrogatory on the ground that it is overbroad, unduly burdensome,

                    4

                    5    claims and defenses.

                    6           Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                    7

                    8    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                    9    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   10    interrogatories or is in the process of supplementing them.     Without leave of Court, Plaintiffs

                   11    served additional int                                                                   -

                   12

                   13           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   14    Protective Order and the ESI , Meta responds as follows:

                   15           This response is designated as Confidential under the Protective Order.

                   16

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                   22           Meta             identifies     Meta_Kadrey_00212903,              Meta_Kadrey_00213257,

                   23

                   24    collaboration agreement with Amazon; Meta_Kadrey_00212710, Meta_Kadrey_00213055, and

                   25                                                collaboration     agreement     with   Google;     and

                   26

                   27    Microsoft.

                   28           This response is designated as Confidential under the Protective Order.
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                   12    INTERROGATORY NO. 21:

                   13           Identify all Person(s) involved in the decision to use Shadow Datasets to train Llama

                   14    Models.

                   15    RESPONSE TO INTERROGATORY NO. 21:

                   16           Meta incorporates by reference its objections and definitions above.

                   17                                                                                          involved in

                   18    which could refer to anyone who had any role in use of such datasets. Meta construes this

                   19    Interrogatory as seeking the identities of any individuals who had a direct role in the approval of

                   20                               .

                   21           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   22                                                                                                        ,

                   23    in particular to the extent it seeks information concerning individuals whom had no significant

                   24    involvement in approving use of a particular dataset.

                   25           Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   26

                   27           Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   28    33(a)(1).
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ATTORNEYS AT LAW                                                                          META S FIRST SUPP. RESP & OBJ S TO
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                    1    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                    2    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                    3    interrogatories or is in the process of supplementing them.     Without leave of Court, Plaintiffs

                    4                                                                                            -

                    5

                    6           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                    7    Protective Order, Meta responds as follows:

                    8           This response is designated as Highly Confidential                               under the

                    9    Protective Order.

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                   28    INTERROGATORY NO. 22:
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                    1              Describe any efforts You have made to obtain licenses or any similar permissions to use

                    2    Shadow Datasets, or the works contained therein, to train Llama Models.

                    3    RESPONSE TO INTERROGATORY NO. 22:

                    4              Meta incorporates by reference its objections and definitions above.

                    5              Meta objects to this Interrogatory as vague and ambiguous as to the

                    6    phrases                                                              Meta construes this Interrogatory

                    7

                    8    the Third Party Datasets as training data for the Llama Models (as construed above).

                    9              Meta objects to this Interrogatory to the extent it implicitly assumes that licenses or

                   10    permission are required for use of the Third Party Datasets to train the Llama Models (as construed

                   11    above).

                   12              Meta objects to this Interrogatory because, on its face, it does not exclude legal advice or

                   13    opinions, which are subject to attorney-client privilege and/or attorney work product doctrine, in

                   14    particular to the extent that the subject matter of the Interrogatory encompasses internal

                   15    deliberations between or among Meta attorneys concerning actual or contemplated contract

                   16    provisions.

                   17              Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   18

                   19    in particular to the extent it seeks information concerning licenses or consent to use works other

                   20    than literary works as training data for the Llama Models (as construed above).

                   21              Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   22    33(a)(1).

                   23    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                   24    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   25    interrogatories or is in the process of supplementing them.        Without leave of Court, Plaintiffs

                   26    served additional int                                                                      -

                   27

                   28              Subject to and without waiving the foregoing objections, and pursuant to the terms of the
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ATTORNEYS AT LAW                                                                             META S FIRST SUPP. RESP & OBJ S TO
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                    1    Protective Order, Meta responds as follows:

                    2           This response is designated as Confidential under the Protective Order.

                    3

                    4

                    5

                    6    INTERROGATORY NO. 23:

                    7           Identify all sources from which You have obtained Shadow Datasets.

                    8    RESPONSE TO INTERROGATORY NO. 23:

                    9           Meta incorporates by reference its objections and definitions above.

                   10           Meta objects to this Interrogatory to the extent that it seeks information that is not within

                   11

                   12           Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   13

                   14    in particular to the extent it seeks information concerning datasets that were not used to train the

                   15    Llama Models (as construed above) and the identity of every source from which a given dataset

                   16    may have been obtained at any time.

                   17           Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   18    33(a)(1).

                   19    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                   20    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   21    interrogatories or is in the process of supplementing them.     Without leave of Court, Plaintiffs

                   22    served additional interrogatories exceeding the limit. By answering inte                 -

                   23

                   24           Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   25    Protective Order, Meta responds as follows:

                   26           This response is designated as Highly Confidential                                under the

                   27    Protective Order.

                   28
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ATTORNEYS AT LAW                                                                           META S FIRST SUPP. RESP & OBJ S TO
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                    5    INTERROGATORY NO. 24:

                    6              Identify all individuals, including current and former employees, who work or have worked

                    7    on securing licenses for data or material You have used, have planned to use, or plan to use to train

                    8    Llama Models.

                    9    RESPONSE TO INTERROGATORY NO. 24:

                   10              Meta incorporates by reference its objections and definitions above.

                   11              Meta objects to this Interrogatory as vague and ambiguous as to the phrasing who worked

                   12    on securing             could encompass any number of individuals who lack material knowledge of

                   13                                    . Meta also objects to the term                                     ,

                   14    ambiguous, indefinite, overbroad, and disproportionate to the needs of the case, in particular to the

                   15    extent it refers to training data other than text. Meta construes this Interrogatory as seeking

                   16    information concerning the identities of Meta employees who were directly involved in and had

                   17    responsibility for securing licenses, if any, for text data to train the Llama Models (as construed

                   18    above).

                   19              Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   20

                   21              Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   22    33(a)(1).

                   23    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                   24    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   25    interrogatories or is in the process of supplementing them.       Without leave of Court, Plaintiffs

                   26    served additional int                                                                     -

                   27

                   28              Subject to and without waiving the foregoing objections, and pursuant to the terms of the
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ATTORNEYS AT LAW                                                                            META S FIRST SUPP. RESP & OBJ S TO
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                    1    Protective Order, Meta identifies the following Meta employees as having been directly involved

                    2    in and having responsibility for securing licenses, if any, for text data to train the Llama Models:

                    3           This response is designated as Confidential under the Protective Order.

                    4

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                   21    INTERROGATORY NO. 25:

                   22           Identify all Meta employees who communicated with third parties          including Microsoft

                   23    Corporation, OpenAI, Eleuther AI, Anthropic, Dell Inc., Cloudflare, Inc. and Qualcomm

                   24    regarding data used to train Llama Models.

                   25    RESPONSE TO INTERROGATORY NO. 25:

                   26           Meta incorporates by reference its objections and definitions above.

                   27           Meta objects to this Interrogatory as vague, ambiguous, indefinite, overbroad, and

                   28
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                    1    the context of this Interrogatory to mean Microsoft Corporation, OpenAI, Eleuther AI, Anthropic,

                    2    Dell Inc., Cloudflare, Inc. and Qualcomm.

                    3

                    4    disproportionate to the needs of the case, in particular to the extent it refers to training data other

                    5    than text. Meta construes this Interrogatory as seeking information concerning the identities of

                    6    Meta employees who were directly involved in and had responsibility for securing licenses, if

                    7

                    8    to mean text data.

                    9            Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   10

                   11    defenses.

                   12            Meta objects to this Request as improperly seeking discovery on discovery.

                   13            Meta objects to this Interrogatory as exceeding the limit of 25 Interrogatories under Rule

                   14

                   15    of Interrogatories that those interrogatories included numerous discrete subparts, far exceeding 25

                   16    total. Nonetheless, and without waiver of its objections, Meta provided its responses to the prior

                   17    interrogatories or is in the process of supplementing them. Without leave of Court, Plaintiffs

                   18    served additional int                                                                        -

                   19

                   20            Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   21    Protective Order, Meta responds as follows:

                   22            Meta is presently unaware of any Meta employees who communicated with Microsoft

                   23    Corporation, OpenAI, Eleuther AI, Anthropic, Dell Inc., Cloudflare, Inc. and Qualcomm

                   24    regarding text training data used to train the Llama Models. Meta is aware that Mr. Dettmers

                   25    communicated with EleutherAI about training data for a model unrelated to the Llama Models.

                   26    However, Meta is in the process of completing a reasonable investigation concerning the subject

                   27    matter of this Interrogatory and will, if necessary, supplement its response in due course.

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ATTORNEYS AT LAW                                                                              META S FIRST SUPP. RESP & OBJ S TO
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                    1          This response is designated as Confidential under the Protective Order.

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                    6
                         Dated: December 13, 2024                            COOLEY LLP
                    7
                                                                      By: /s/ Judd Lauter
                    8                                                    Bobby Ghajar
                                                                         Mark Weinstein
                    9                                                    Kathleen Hartnett
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COOLEY LLP
ATTORNEYS AT LAW                                                                      META S FIRST SUPP. RESP & OBJ S TO
                                                                     16                        PLTFS THIRD SET OF ROGS
                                                                                                       3:23-CV-03417-VC
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                    1                                          PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3    in Los Angeles County, State of California, in the office of a member of the bar of this Court, at

                    4    whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5    within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite 900, Los

                    6    Angeles, CA 90071. On the date set forth below I served the documents described below in the

                    7    manner described below:

                    8                   DEFENDANT META PLATFORMS, INC S FIRST SUPPLEMENTAL RESPONSES AND
                                        OBJECTIONS TO PLAINTIFFS THIRD SET OF INTERROGATORIES
                    9
                                        (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   10                   practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13
                                Executed on December 13, 2024, at Los Angele , California.
                   14

                   15                                                   /s/Jerry Gonzalez

                   16                                                   Jerry Gonzalez

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COOLEY LLP                                                                                                 PROOF OF SERVICE
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